| Case 2:17-CV-00038-G.]Q-TPG ECF No. 1-6 filed 02/24/17 7 Page|D.34 Page 1 of 3

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( UD-014B (03/2004)
‘ MiCHlGAN sTATE POi.icE
` PROPERTY RECEIPT

 

 

 

 

1 w " dam Number ‘ bare Work Site
86-577-08 / 11/18/2008 iron Mountain
Property Description
\Number ' ,

 

 

 

 

 

Ev. Drive 2,3 EV Drive 2 -Western ZOGB Hard Drive SER# WMAAR1633475
Ev orive 3- seagaie 250 es Hard orive sER# 5on90KT

Both Drive Contain Case 90-577-08 TOT DHS-iCE for Review

 

 

 

 

 

Release of Property

Re|e_ased by Si§£;a%o'r \
Q/~SGJH ~/M;EE 0 &/\.¢“L\d.a_»m“chj
Date Reieased‘/ k/

1 1/18/2008 ,¢ v-` _
Reoeived by Signeture /‘ _

 

 

 

 

 

 

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Print Receiveoi by Name '
"T L.ma.s .m._//;/ ;;A/rcs_;

 

ciry/sraie/zip

 

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Received by Phone Number _
- (eoe\izss-aaos .

lNSTRUCTiONS FOR PROPERTY RECEIPT

 

 

This receipt is to be used when the use of the receipt produced by A|CS is not reasonable Examp|e: Property is
taken into possession and released before an officer can make an entry into AiCS.

Comp|ete the'eritire form (may be handwritten) and use the Description Box to fully describe tbejproperty:
(Manufacture'r, Make, Seriai Number, Denomina`tion, Amount of Money). After the property is entered into
AICS, add the system assigned Prope`rty Number to the Description Box of this receipt

MACHINE COPY AS NEEDED AUTHOR|T¥: 1935 PA 59
COMPLiANCE: Vo|unta ,

[_:X/)/-é/»]L E_ l

 

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Page 2 of 3

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

ORlGlNAL DATE ClDENT NO. /
MSP - rRON MoUNTArN PosT Wed, Apr 16, 2008 086-0000577-08 v
ORlGINAL INCIDENT TlME RECEIVED K FlLE ClASS ’/,//
REPORT 0941 W
WORK UNIT COUNTY
MSP IRON MOUNTAIN Dickinson
coMPr.ArNANr 4 memoirs No.
TPR PROVOST PATROL (906)774-2122
Ar)nasss: srm~:r AND No. cmr sma er coors
1916 N STEPHENSON AVEN'UE IRON MOUNTAIN MI 49801-1421
mciDENr sums .
Open
SDR VIOLATION
lNFORMATION: »= la n

I was contacted at the post by Sgt. Varga. He requested that I take a SORcornplaint. Sgt. Varga advised that
a male subject was at the front desk this date to verify his address lt should be noted that verifications are to
be held from the lst 15th of the month, this subject was now late. Upon checking STEVEN GlLBERT
SCHWECHEL an alert status came up. Schwechel stated that he had forgotten to come in to verify during the

time he was supposed to.

VENUE:

' DICKINSON COUNTY, [RON MOUNTA]N

1916 N STEPHENSON AVE

AT OR NEAR: STATE POLICE PO_ST

DATE & TlME:
WED, APR 16, 2008 AT 0910

COIVH’LAINANT:

NAM: TPR PROVOS'I` PATROL
NBR: 1916 DIR: N

S'I`R: S'I`EPHENSON

SFX: AVENUE

CTY: IRONMOUNTAIN

wa; (906)774-2122

CONTACT SCHWECHEL:

ST: MI
TXH: ZIP: 49801

RAC: ETH:
SEX: OPS:
DOB: SSN:
HGT: SID:
_WGT: FBI:v
HAI: MNU:
EYE: _ PRN:

I made contact with Steven Schwechel in the front lobby of the MSP Iron Mountain Post. I advised
Schwechel that he was delinquent in verifying his address as the last date was yesterday. Schwechel stated
_ that he had known thjs. I advised him that a report would be sent to the prosecutor for review and possible

 

INVESTIGATED B¥

PAGE TPR xeer r. PRovosT #1371

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REPORTED BY

 

REV[E WED BY

 

 

 

 

 

 

 

CaSe 2217-CV-00038-G.]Q-TPG ECF NO. 1-6 filed 02/24/17

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Msr> _ rRoN MouNrArN Posr
ORIG[NAL lNCIDENT ,
REPORT t

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oR\GiNAr. DATE / /iNc\uENri;). ,5
W€d, Apr 16, 2008 / 086-0000577-08

 

 

TlME RECEivED
0941

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FlLE CLASS

 

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issuant of a warrant for his arrest. 1 asked Schweche] if at this time he would be willing to speak with me and
he stated he would speak with me.

SUSPECT:
NAM: STEVEN GILBERT SCHWECHEL .
RAC: W ETH:
NBR: SEX: M OPS:
STR DOB'. \ SSN
SFX:.' APT/SUITE: . HGT: - _. SID:
CTY: ST: WGT FBl:
TXH: ZIP: HAI: MNU:
TXW:` _ ‘_ g ,__ EYE: PRN; . . "_
INTERVIEW SUSPECT:

Schwechel was advised that he was not under arrest, he was ii'ee to leave at anytirne; however, 1 would like to
speak with him reference the SORl violation Schwechel stated that he understood and was willing to speak _to
me. An interview was held in a Post Room next to the front desk. 1 asked Schwechel flat out-if he knew he
needed to verify his address 4 times a year, he stated that he did know this and what months he was required to
verify his address. 1 asked him if he knew the dates for address veriiication were the lst thru the 15th of the
inonth. He stated that he did. 1 then asked Schwechel why he was late for his address verification Schwechel
stated again that he knows what the dates for verifying are however, he just forgot to do it this month. He
further advised that he remembered yesterday after he awoke; however, he had to take his daughter down to
WI for a doctor's appointment He stated he was going to do it upon returning horne but it was to late so he
just thought he would do it today. 1 advised him that there was no leeway that the dates were from the lst thru
the 15th He again stated that he knew this but he had just forgot. 1 advised Schwechel that this report was
going to the prosecutor's office for SOR failure to verify address violation Schwechel stated that he could be
reached at the above TX numbers or address if they issued a warrant and he would turn himself in. The

interview Was then concluded.
STATUS:

Open . Pends prosecutor review.~

 

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PAGE TFR KEV[N L PROVOST #1371

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